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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. SA CV 17-1386-DOC (KESx)                                       Date: November 2, 2017

 Title: BILLIE RENE FRANCES LILLIAN POWERS V THE BANK OF NEW YORK
       MELLON, ET AL


 PRESENT: The Honorable DAVID O. CARTER, U.S. District Judge

               Deborah Lewman                                        Debbie Gale
               Courtroom Clerk                                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:
        Richard William Snyder                             Steven M. Dailey


 PROCEEDINGS: APPLICATION FOR TEMPORARY RESTRAINING ORDER [25]


        Hearing held. For the reasons stated on the record, the Application for Temporary
 Restraining Order [25] is DENIED.

        Counsel stipulated to allow Plaintiff to file a Second Amended Complaint by December
 14, 2017 and to withdraw the pending Motions to Dismiss [14], [15] without prejudice.

         The November 20, 2017 hearing date is VACATED as the motions will be withdrawn by
 Plaintiff.




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                                                     Initials of Clerk      djl




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